         Case 2:13-bk-17409-RK Doc 197 Filed 10/16/20 Entered 10/16/20 22:12:55                                                                      Desc
                             Imaged Certificate of Notice Page 1 of 4
                                                               United States Bankruptcy Court
                                                                Central District of California
In re:                                                                                                                  Case No. 13-17409-RK
Ayers Bath (U.S.A.), Co.,Ltd.                                                                                           Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 14, 2020                                                Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 16, 2020:
Recip ID                 Recipient Name and Address
db                     + Ayers Bath (U.S.A.), Co.,Ltd., 10713 Norwalk Avenue, Santa Fe Springs, CA 90670-3823

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 16, 2020                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 14, 2020 at the address(es) listed
below:
Name                               Email Address
Alfred H Siegel (TR)
                                   Al.siegel@asiegelandassoc.com Lisa.irving@asiegelandassoc.com;asiegel@ecf.axosfs.com

Anthony A Friedman
                                   on behalf of Attorney Levene Neale, Bender, Yoo & Brill, LLP aaf@lnbyb.com

Anthony A Friedman
                                   on behalf of Trustee Alfred H Siegel (TR) aaf@lnbyb.com

Carl W Oberdier
                                   on behalf of Creditor Tangshan Ayers Bath Equipment Co. LTD. cwo@oberdier.com, kgr@oberdier.com;skh@oberdier.com

Jeffrey S Renzi
                                   on behalf of Debtor Ayers Bath (U.S.A.) Co.,Ltd. jrenzi@ssd.com, clopez@ssd.com;ptsui@ssd.com

John A Moe, II
                                   on behalf of Interested Party JOHN A MOE john.moe@dentons.com glenda.spratt@dentons.com
         Case 2:13-bk-17409-RK Doc 197 Filed 10/16/20 Entered 10/16/20 22:12:55                                                     Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0973-2                                          User: admin                                                           Page 2 of 2
Date Rcvd: Oct 14, 2020                                       Form ID: pdf042                                                      Total Noticed: 1
Philip J Graves
                             on behalf of Creditor Tangshan Ayers Bath Equipment Co. LTD. philipg@hbsslaw.com, bills@hbsslaw.com

Ryan M Salzman
                             on behalf of Creditor Foremost Groups Inc. ryan.salzman@faegredrinker.com,
                             willie.ackart@faegredrinker.com;susan.carlson@faegredrinker.com

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 9
           Case 2:13-bk-17409-RK Doc 197 Filed 10/16/20 Entered 10/16/20 22:12:55                                  Desc
                               Imaged Certificate of Notice Page 3 of 4


                     1    WILLIAM A. HANSSEN (Bar No. 110613)
                          william.hanssen@faegredrinker.com
                     2    RYAN M. SALZMAN (Bar No. 299923)
                          ryan.salzman@faegredrinker.com                                 FILED & ENTERED
                     3    FAEGRE DRINKER BIDDLE & REATH LLP
                          ryan.salzman@faegredrinker.com
                     4    1800 Century Park East, Suite 1500                                  OCT 14 2020
                          Los Angeles, California 90067
                     5    Telephone:    +1 310 203 4000
                          Facsimile:    +1 310 229 1285                                  CLERK U.S. BANKRUPTCY COURT
                                                                                         Central District of California
                     6                                                                   BY tatum      DEPUTY CLERK
                          Attorneys for Defendant
                     7    FOREMOST GROUPS, INC.

                     8
                                                      UNITED STATES BANKRUPTCY COURT
                     9
                                                      CENTRAL DISTRICT OF CALIFORNIA
                     10
                                                            LOS ANGELES DIVISION
                     11

                     12
                                                                             Case No. 2:13-bk-17409-RK
                     13
                          In re:                                             Chapter 7
                     14
                                                                             CONSENT ORDER ADJOURNING
                     15   AYERS BATH (U.S.A.) CO., LTD.,                     STATUS HEARING DATE FOR
                                                                             )25(0267*52836,1&¶6
                     16                      Debtor                          RENEWED MOTION TO AMEND THE
                                                                             JUDGMENT OF THE BANKRUPTCY
                     17                                                      COURT TO ADD TANGSHAN AYERS
                                                                             BATH EQUIPMENT CO. LTD. AS
                     18                                                      JUDGMENT DEBTOR

                     19                                                      Docket No. 118

                     20
                     21            The relief set forth on the following page, numbered two (2), is SO ORDERED.

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  FAEGRE DRINKER
BIDDLE & REATH LLP        CONSENT ORDER ADJOURNING STATUS
                                                                                                  CASE NO. 2:13-BK-17409-RK
  ATTORNEYS AT LAW        HEARING DATE
           Case 2:13-bk-17409-RK Doc 197 Filed 10/16/20 Entered 10/16/20 22:12:55                             Desc
                               Imaged Certificate of Notice Page 4 of 4


                     1             UPON CONSIDERATION of the Stipulation between Tangshan Ayers Bath Equipment

                     2    Co., Ltd. and )RUHPRVW*URXSV,QF ³)RUHPRVW´ UHJDUGLQJWKHVWDWXVKHDULQJGDWHRQ

                     3    )RUHPRVW¶V5HQHZHG0RWLRQWR$PHQGWKH-XGJPHQWRIWKH%DQNUXSWF\&RXUWWR$GG7DQJVKDQ

                     4    $\HUV%DWK(TXLSPHQW&R/WGDV-XGJPHQW'HEWRU>'(@ WKH³0RWLRQ´ DQGJRRGFDXVH

                     5    appearing:

                     6             IT IS ORDERED that the status hearing on the Motion shall be adjourned from October

                     7    28, 2020 at 1:30 p.m. to December 2, 2020 at 1:30 p.m., or as soon thereafter as counsel may be

                     8    heard.

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                     24   Date: October 14, 2020

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  FAEGRE DRINKER
BIDDLE & REATH LLP        CONSENT ORDER ADJOURNING STATUS
                                                                        -2-                     CASE NO. 2:13-BK-17409-RK
  ATTORNEYS AT LAW        HEARING DATE
